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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:
                                                                              o Chapter 7
                                                                              n Chapter 11
                                                                              o Chapter 12
                                                                              o Chapter 13                                    o    Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Amir
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Golestan
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6112
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Amir Golestan                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      n I have not used any business name or EINs.                  o I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 4639 Wilson Rd
                                 Meggett, SC 29449
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Charleston
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                  n      Over the last 180 days before filing this petition,    o       Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                 o      I have another reason.                                 o       I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Amir Golestan                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                             o Chapter 7
                                 n   Chapter 11
                                 o   Chapter 12
                                 o   Chapter 13



8.   How you will pay the fee    n      I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                 o      I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                 o      I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for          n No.
     bankruptcy within the
     last 8 years?               o Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy           n No
    cases pending or being
    filed by a spouse who is     o Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your             n No.        Go to line 12.
    residence?
                                 o Yes.       Has your landlord obtained an eviction judgment against you?

                                              o         No. Go to line 12.

                                              o         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Amir Golestan                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      n No.       Go to Part 4.
    business?
                                   o Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                               o       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               o       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               o       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               o       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               o       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                   o No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
     U.S.C. § 101(51D).            n No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                   o Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         n No.
    property that poses or is
    alleged to pose a threat       o Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Amir Golestan                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a
    briefing about credit
                                     n Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                   o I received a briefing from an approved credit
                                                                                                       counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check       o   I received a briefing from an approved credit             o   I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your              o   I certify that I asked for credit counseling              o   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                     o   I am not required to receive a briefing about             o   I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                         o     Incapacity.                                             o    Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                         o     Disability.                                             o    Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                         o     Active duty.                                            o    Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Amir Golestan                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                           n No. Go to line 16b.
                                           o Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           o No. Go to line 16c.
                                           n Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under         n No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that        o Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses               o No
     are paid that funds will
     be available for                      o Yes
     distribution to unsecured
     creditors?

18. How many Creditors do        o 1-49                                          o 1,000-5,000                               o 25,001-50,000
    you estimate that you
    owe?                         n 50-99                                         o 5001-10,000                               o 50,001-100,000
                                 o 100-199                                       o 10,001-25,000                             o More than100,000
                                 o 200-999

19. How much do you              o $0 - $50,000                                  n $1,000,001 - $10 million                  o $500,000,001 - $1 billion
    estimate your assets to      o $50,001 - $100,000                                                                        o $1,000,000,001 - $10 billion
    be worth?                                                                    o $10,000,001 - $50 million
                                 o $100,001 - $500,000                           o $50,000,001 - $100 million                o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                         o $100,000,001 - $500 million               o More than $50 billion

20. How much do you              o $0 - $50,000                                  o $1,000,001 - $10 million                  o $500,000,001 - $1 billion
    estimate your liabilities    o $50,001 - $100,000
    to be?                                                                       n $10,000,001 - $50 million                 o $1,000,000,001 - $10 billion
                                 o $100,001 - $500,000                           o $50,000,001 - $100 million                o $10,000,000,001 - $50 billion
                                 o $500,001 - $1 million                         o $100,000,001 - $500 million               o More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Amir Golestan
                                 Amir Golestan                                                     Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 28, 2019                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Amir Golestan                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Kevin Campbell                                                 Date         October 28, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Kevin Campbell 0030
                                Printed name

                                Campbell Law Firm, PA
                                Firm name

                                PO Box 684
                                Mt. Pleasant, SC 29465
                                Number, Street, City, State & ZIP Code

                                Contact phone     (843)884-6874                              Email address

                                0030 SC
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Amir Golestan
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)
                                                                                                                                               o    Check if this is an
                                                                                                                                                    amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                   Unsecured claim
 1                                                                   What is the nature of the claim?              Credit Card                     $ $46,222.00
              Amex
              Correspondence/Bankruptcy                              As of the date you file, the claim is: Check all that apply
              Po Box 981540                                          o       Contingent
              El Paso, TX 79998                                      o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
              Contact                                                o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Credit Card                     $ $13,936.00
              Amex
              Correspondence/Bankruptcy                              As of the date you file, the claim is: Check all that apply
              Po Box 981540                                          o       Contingent
              El Paso, TX 79998                                      o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
              Contact                                                o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              Page 1

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 Debtor 1          Amir Golestan                                                                    Case number (if known)




 3                                                                   What is the nature of the claim?              Guardian Ad Litem           $ $15,000.00
            Averill Law Firm
            895 Island Park Dr #202                                  As of the date you file, the claim is: Check all that apply
            Charleston, SC 29492                                     o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Credit Card                 $ $25,201.00
            Bank of America
            4909 Savarese Circle                                     As of the date you file, the claim is: Check all that apply
            Fl1-908-01-50                                            o       Contingent
            Tampa, FL 33634                                          o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Credit Card                 $ $24,703.00
            Barclays Bank Delaware
            Attn: Correspondence                                     As of the date you file, the claim is: Check all that apply
            Po Box 8801                                              o       Contingent
            Wilmington, DE 19899                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Consumer; Legal Fees $ $30,500.00
            Bleeker Law Firm
            561 Savannah Hwy                                         As of the date you file, the claim is: Check all that apply
            Charleston, SC 29417                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          Amir Golestan                                                                    Case number (if known)


                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Credit Card                 $ $27,551.00
            Chase Card Services
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            Po Box 15298                                             o       Contingent
            Wilmington, DE 19850                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Personal Guarantee of $ $15,000.00
                                                                                                                   Business Debt for The
                                                                                                                   Morrison House, LLC
            Glenn Keyes Architects
            12 Vanderhorst St #B                                     As of the date you file, the claim is: Check all that apply
            Charleston, SC 29403                                     o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Employment                  $ $42,000.00
                                                                                                                   Withholding Taxes
                                                                                                                   from Business of
                                                                                                                   Micfo, LLC
            Internal Revenue Service
            Insolvency Group 6                                       As of the date you file, the claim is: Check all that apply
            MDP 39                                                   o       Contingent
            1835 Assembly Street                                     o       Unliquidated
            Columbia, SC 29201                                       n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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 Debtor 1          Amir Golestan                                                                    Case number (if known)

 10                                                                  What is the nature of the claim?              Personal Guarantee of $ $2,950,000.00
                                                                                                                   Business Debt for The
                                                                                                                   Morrison House, LLC
            JP Morgan
            PO Box 469030                                            As of the date you file, the claim is: Check all that apply
            Denver, CO 80246                                         o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Domestic Support            $ $50,000.00
                                                                                                                   Obligation
            Kristin Golestan
            125 Tradd St.                                            As of the date you file, the claim is: Check all that apply
            Charleston, SC 29401                                     o       Contingent
                                                                     o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Court Ordered        $ $500,000.00
                                                                                                                   Attorney Fees from
                                                                                                                   Domestic Proceedings
            Marie-Louise Ramsdale, Esq.
            Ramsdale Law Firm                                        As of the date you file, the claim is: Check all that apply
            1476 Ben Sawyer Blvd, Suite 5                            o       Contingent
            Mount Pleasant, SC 29464                                 o       Unliquidated
                                                                     n       Disputed
                                                                     o        None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Consumer; Legal Fees $ $85,000.00
            McLaren & Lee
            1508 Laurel St                                           As of the date you file, the claim is: Check all that apply
            Columbia, SC 29211                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                             None of the above apply

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 4

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 Debtor 1          Amir Golestan                                                                    Case number (if known)

                                                                     n
                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Personal Guarantee of $ $37,836.00
                                                                                                                   Business Debt for
                                                                                                                   Micfo, LLC
            Navitas Credit Corp.
            111 Executive Drive Suit                                 As of the date you file, the claim is: Check all that apply
            Columbia, SC 29210                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Credit Card                 $ $15,300.00
            PNC Bank
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            Po Box 94982: Mailstop                                   o       Contingent
            Br-Yb58-01-5                                             o       Unliquidated
            Cleveland, OH 44101                                      o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Personal Guarantee of $ $1,075,000.00
                                                                                                                   Business Debt for
                                                                                                                   Seven and Rose, LLC
            South State Bank
            PO Box 118068                                            As of the date you file, the claim is: Check all that apply
            Charleston, SC 29423                                     o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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 Debtor 1          Amir Golestan                                                                    Case number (if known)




 17                                                                  What is the nature of the claim?              Personal Guarantee of $ $690,000.00
                                                                                                                   Business Debt for
                                                                                                                   Seven and Rose, LLC
                                                                                                                   and Micfo, LLC
            TBG Funding
            3839 Flatlands Avenue #201                               As of the date you file, the claim is: Check all that apply
            Brooklyn, NY 11234                                       o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              Incurred for Business       $ $66,000.00
            The Bishop Fields
            1616 Rifle Range Rd                                      As of the date you file, the claim is: Check all that apply
            Mount Pleasant, SC 29464                                 o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              Incurred for Business       $ $29,000.00
            The Bishop Fields
            1616 Rifle Range Rd                                      As of the date you file, the claim is: Check all that apply
            Mount Pleasant, SC 29464                                 o       Contingent
                                                                     o       Unliquidated
                                                                     o       Disputed
                                                                     n       None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                     n        No
            Contact                                                  o        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              Credit Card                 $ $42,785.00
            U.S. Bancorp
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            800 Nicollet Mall                                        o       Contingent
            Minneapolis, MN 55402                                    o       Unliquidated
                                                                     o       Disputed
                                                                             None of the above apply


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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 Debtor 1          Amir Golestan                                                                    Case number (if known)

                                                                     n
                                                                     Does the creditor have a lien on your property?
                                                                     n       No
            Contact                                                  o       Yes. Total claim (secured and unsecured)                 $
                                                                                   Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Amir Golestan                                                                X
       Amir Golestan                                                                        Signature of Debtor 2
       Signature of Debtor 1


       Date      October 28, 2019                                                           Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      Page 7

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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Amir Golestan                                                                                   Case No.
                                                                                    Debtor(s)               Chapter    11


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: October 28, 2019                                                  /s/ Amir Golestan
                                                                         Amir Golestan
                                                                         Signature of Debtor

 Date: October 28, 2019                                                  /s/ Kevin Campbell
                                                                         Signature of Attorney
                                                                         Kevin Campbell 0030
                                                                         Campbell Law Firm, PA
                                                                         PO Box 684
                                                                         Mt. Pleasant, SC 29465
                                                                         (843)884-6874 Fax: (843)884-0997
                                                                         Typed/Printed Name/Address/Telephone

                                                                         0030 SC
                                                                         District Court I.D. Number




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                        ADT SECURITY SERVICES
                        PO BOX 650485
                        DALLAS TX 75265


                        AMEX
                        CORRESPONDENCE/BANKRUPTCY
                        PO BOX 981540
                        EL PASO TX 79998


                        AMIN GOLESTAN
                        16185 POPPYSEED CIRCLE #4
                        DELRAY BEACH FL 33484


                        AVERILL LAW FIRM
                        895 ISLAND PARK DR #202
                        CHARLESTON SC 29492


                        BANK OF AMERICA
                        4909 SAVARESE CIRCLE
                        FL1-908-01-50
                        TAMPA FL 33634


                        BARCLAYS BANK DELAWARE
                        ATTN: CORRESPONDENCE
                        PO BOX 8801
                        WILMINGTON DE 19899


                        BLEEKER LAW FIRM
                        561 SAVANNAH HWY
                        CHARLESTON SC 29417


                        CAPITAL ONE
                        ATTN: BANKRUPTCY
                        PO BOX 30285
                        SALT LAKE CITY UT 84130


                        CHASE CARD SERVICES
                        ATTN: BANKRUPTCY
                        PO BOX 15298
                        WILMINGTON DE 19850


                        CHUDLEY INTERNATIONAL
                        UNIT 10 ILTON BUSINESS PARK
                        ILTON, SOMERSET, TA19 9DU
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                    CITIBANK
                    ATTN: RECOVERY/CENTRALIZED BANKRUPTCY
                    PO BOX 790034
                    ST LOUIS MO 63179


                    COMCAST BUSINESS



                    COMENITY BANK/RESTORERATION HARDWARE
                    ATTN: BANKRUPTCY
                    PO BOX 182125
                    COLUMBUS OH 43218


                    DATA SALES
                    3450 WEST BURNSVILLE PKWY
                    BURNSVILLE MN 55337


                    DISCOVER FINANCIAL
                    ATTN: BANKRUPTCY DEPARTMENT
                    PO BOX 15316
                    WILMINGTON DE 19850


                    DIXON HUGHES
                    525 E BAY STREET, SUITE 100
                    CHARLESTON SC 29401


                    ESMAT MOHSENI
                    4639 WILSON RD
                    HOLLYWOOD SC 29449


                    GARDEN ELEGANCE
                    5950 JOSEPH BLAKE LN
                    WADMALAW ISLAND SC 29487-4000


                    GLENN KEYES ARCHITECTS
                    12 VANDERHORST ST #B
                    CHARLESTON SC 29403


                    HOOD & SELANDER CPAS LLC
                    856 LOWCOUNTRY BOULEVARD
                    SUITE 100
                    MOUNT PLEASANT SC 29464


                    HPE FINANCIAL SERVICES
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                    HYUNDAI MOTOR FINANCE
                    ATTN: BANKRUPTCY
                    PO BOX 20809
                    FOUNTAIN VALLEY CA 92728


                    INTERNAL REVENUE SERVICE
                    INSOLVENCY GROUP 6
                    MDP 39
                    1835 ASSEMBLY STREET
                    COLUMBIA SC 29201


                    INTERNAL REVENUE SERVICE
                    941 - BUSINESS
                    OGDEN UT 84201


                    JARED HUGHES
                    ATLANTA GA



                    JOHN LEITER
                    105 HOLLY LN
                    MYRTLE BEACH SC 29572


                    JP MORGAN
                    PO BOX 469030
                    DENVER CO 80246


                    KRISTIN GOLESTAN
                    125 TRADD ST.
                    CHARLESTON SC 29401


                    MARIE-LOUISE RAMSDALE, ESQ.
                    RAMSDALE LAW FIRM
                    1476 BEN SAWYER BLVD, SUITE 5
                    MOUNT PLEASANT SC 29464


                    MCLAREN & LEE
                    1508 LAUREL ST
                    COLUMBIA SC 29211


                    MERRILL LYNCH
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                    MICFO, LLC
                    198 EAST BAY ST
                    CHARLESTON SC 29401


                    MICFO, LLC



                    MUSC HEALTH
                    135 RUTLEDGE AVE, 5TH FLOOR
                    CHARLESTON SC 29425


                    NAVITAS CREDIT CORP.
                    111 EXECUTIVE DRIVE SUIT
                    COLUMBIA SC 29210


                    NELSON MULLINS
                    151 MEETING ST, 6TH FLOOR
                    CHARLESTON SC 29401


                    PNC BANK
                    ATTN: BANKRUPTCY
                    PO BOX 94982: MAILSTOP BR-YB58-01-5
                    CLEVELAND OH 44101


                    PNC MORTGAGE
                    ATTN: BANKRUPTCY
                    3232 NEWMARK DRIVE
                    MIAMISBURG OH 45342


                    PREMIER FIRE & SECURITY
                    3180 INDUSTRY DR
                    NORTH CHARLESTON SC 29418


                    R-SQUARED HINES, LTD
                    640 KING ST
                    CHARLESTON SC 29403


                    ROPER ST FRANCIS
                    316 CALHOUN ST
                    CHARLESTON SC 29401


                    SC DEPARTMENT OF REVENUE AND TAXATION
                    P. O. BOX 12265
                    COLUMBIA SC 29211
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                    SECURITY & EXCHANGE COMMISSION
                    950 EAST PACES FERRY, NE, STE 900
                    ATLANTA GA 30326-1382


                    SOLITUDE LAKE MANAGEMENT
                    4365 DORCHESTER RD
                    NORTH CHARLESTON SC 29405


                    SONITROL
                    4455 TILE DR
                    NORTH CHARLESTON SC 29405


                    SOUTH STATE BANK
                    PO BOX 118068
                    CHARLESTON SC 29423


                    SOUTH STATE BANK 000
                    POB 1287
                    ORANGEBURG SC 29116


                    SYNCHRONY BANK/AMAZON
                    ATTN: BANKRUPTCY
                    PO BOX 965060
                    ORLANDO FL 32896


                    TBG FUNDING
                    3839 FLATLANDS AVENUE #201
                    BROOKLYN NY 11234


                    THE BISHOP FIELDS
                    1616 RIFLE RANGE RD
                    MOUNT PLEASANT SC 29464


                    U.S. BANCORP
                    ATTN: BANKRUPTCY
                    800 NICOLLET MALL
                    MINNEAPOLIS MN 55402


                    US ATTORNEY FOR SC
                    ATTN: DOUGLASS BARNETT
                    1441 MAIN ST, STE 500
                    COLUMBIA SC 29201-2862
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                    VIVINT
                    4931 NORTH 300
                    PROVO UT 84604


                    WELLS FARGO EQUIPMENT
                    733 MARQUETTE AVE #700
                    CHARLESTON SC 29401


                    WESTERN EQUIPMENT FINANCE
                    03 US HIGHWAY 2 WEST
                    DEVILS LAKE ND 58301
